8/29/2019              Case 1:18-cv-10933-RA     Document
                                         Press Releases          139-1
                                                        - pr_06-10-04       Filed
                                                                      - Supreme    04/14/20
                                                                                Court               Page 1 of 2
                                                                                      of the United States




     For Immediate Release                                                    For Further Information Contact:
     June 10, 2004                                                            Public Information Oﬀice
                                                                              Phone: (202) 479-3211

                  Judicial Conduct and Disability Act Study Committee
                                Organizational Meeting
                                    June 10, 2004
     The Judicial Conduct and Disability Act Study Committee held its initial organizational meeting today
     at the Supreme Court. The Chief Justice established the Committee, chaired by Justice Stephen Breyer,
     to evaluate how the federal judicial system has implemented the Judicial Conduct and Disability Act of
     1980. (See 28 U.S.C. §§ 351-364.) That Act authorizes "any person" to file a complaint alleging that a
     federal circuit judge, district judge, bankruptcy judge, or magistrate judge has "engaged in conduct
     prejudicial to the eﬀective and expeditious administration of the business of the courts," or is physically
     or mentally unable to perform his or her duties. The Act does not itself prescribe ethical standards; nor
     does it apply to the Supreme Court.
     At today's meeting, the Committee decided that it will initially examine as many non-frivolous Act-
     related complaints as can be identified, along with a statistical sample of all complaints, filed in the last
     several years. The Committee will use this information to help shape a further course of examination
     and analysis, eventually leading to Committee recommendations to the Chief Justice.
     "The Committee's task is narrow, but important," Justice Breyer said. "The 1980 Act put a system in
     place so that action can be taken when judges engage in misconduct or are physically or mentally
     unable to carry out their duties. We need to see how the system is working. The public's confidence in
     the integrity of the judicial branch depends not only upon the Constitution's assurance of judicial
     independence. It also depends upon the public's understanding that eﬀective complaint procedures,
     and remedies, are available in instances of misconduct or disability."
     In addition to Justice Breyer, the Committee members are: Judge J. Harvie Wilkinson (U.S. Court of
     Appeals for the Fourth Circuit); Judge Pasco M. Bowman (U.S. Court of Appeals for the Eighth Circuit);
     Judge D. Brock Hornby (U.S. District Court for the District of Maine); Judge Sarah Evans Barker (U.S.
     District Court for the Southern District of Indiana); and Sally M. Rider (administrative assistant to the
     Chief Justice).
     The Committee will use staﬀ drawn from the Administrative Oﬀice of the United States Courts and the
     Federal Judicial Center. The staﬀ will develop a research plan based both on statistical sampling and
     interviews, including interviews of judges, administrators, and practicing lawyers, such as prosecutors
     and defense attorneys. It will examine complaints submitted by members of the public to other
     institutions, including Congress, and will develop methods for obtaining information from members of
     the public. Although the Committee will proceed publicly where useful and appropriate, it recognizes



https://www.supremecourt.gov/publicinfo/press/pressreleases/pr_06-10-04                                              1/2
8/29/2019              Case 1:18-cv-10933-RA     Document
                                         Press Releases          139-1
                                                        - pr_06-10-04       Filed
                                                                      - Supreme    04/14/20
                                                                                Court               Page 2 of 2
                                                                                      of the United States




     the statutory requirement to maintain confidentiality of records and complaints. (See 28 U.S.C. § 360.) It
     will likely take eighteen months to two years for the Committee to complete its work. The Committee
     will meet again in the fall.




https://www.supremecourt.gov/publicinfo/press/pressreleases/pr_06-10-04                                           2/2
